   Case 4:21-cr-00031-RSB-CLR       Document 101     Filed 08/25/22   Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )     4:21-CR-00031-RSB-CLR
                                              )
NIHAD AL JABERI                               )     Judge R. Stan Baker


                               NOTICE OF APPEAL

      Mr. NIHAD AL JABERI, pursuant to Federal Rule of Appellate Procedure

4(b)(1)(A)(i), respectfully notifies this Court of his appeal from the convictions

and sentence in the Judgement in a Criminal Case (ECF No. 99) to the United

States Court of Appeals for the Eleventh Circuit.

      Date:        August 25, 2022.

                                         Respectfully submitted,

                                           s/ Katryna Lyn Spearman, Esq.
                                           Katryna Lyn Spearman, Esq.
                                           Ga. Bar # 616038
                                           kspearman@lowtherwalker.com




                                          1
Case 4:21-cr-00031-RSB-CLR   Document 101   Filed 08/25/22   Page 2 of 3




                                  s/ Murdoch Walker II, Esq.
                                  Murdoch Walker II, Esq.
                                  Ga. Bar # 163418
                                  mwalker@lowtherwalker.com

                                  Lowther | Walker LLC
                                  101 Marietta St., NW, Ste. 3325
                                  Atlanta, GA 30303
                                  404.496.4052
                                  www.lowtherwalker.com

                                 Attorneys for Nihad Al Jaberi




                                 2
   Case 4:21-cr-00031-RSB-CLR      Document 101      Filed 08/25/22   Page 3 of 3




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )      4:21-CR-00031-RSB-CLR
                                             )
NIHAD AL JABERI                              )      Judge R. Stan Baker


                          CERTIFICATE OF SERVICE

      I hereby certify that on August 25, 2022, I electronically filed the foregoing

NOTICE OF APPEAL with the Clerk of the United States District Court for the

Western District of Texas by way of the CM/ECF system, which automatically

will serve this document on the attorneys of record for the parties in this case by

electronic mail.

      Date:        August 25, 2022.

                                         Respectfully submitted,

                                          s/ Katryna Lyn Spearman, Esq.
                                          Katryna Lyn Spearman, Esq.
                                          Ga. Bar # 616038
                                          kspearman@lowtherwalker.com

                                          Lowther | Walker LLC
                                          101 Marietta St., NW, Ste. 3325
                                          Atlanta, GA 30303
                                          404.496.4052
                                          www.lowtherwalker.com




                                         3
